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                             UNITED STATES DISTRICT COURT FOR
                             THE SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 0:18-cv-61844-WPD



    JONATHAN MORGAN, on behalf of
    himself and all others similarly situated,

            Plaintiff,

    v.

    PROGRESSIVE SELECT
    INSURANCE CO.,

           Defendant.
                                           /


                     PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                            AND MEMORANDUM IN SUPPORT

          Under Rule 23 of the Federal Rules of Civil Procedure and Southern District Local Rule
   23.1, Plaintiff, Jonathan Morgan, (“Plaintiff” or “Mr. Morgan”), through counsel, respectfully
   moves this Court for an order:
          (1)     Certifying this action as a class action under Federal Rules of Civil Procedure 23(a)
                  and 23(b)(3), on behalf of the “Class” or “Class Members” defined as:
                  From five years before the filing of the original complaint on June
                  28, 2018, until the day the Court decides class certification (the
                  “Class Period”), all individuals (1) who have made a claim under
                  the Policy for collision or comprehensive coverage on a vehicle
                  covered under the Policy; (2) Defendant settled the claim paying
                  what Defendant considered “actual cash value” for the covered
                  vehicle; (3) Defendant obtained transfer of title to the vehicle; and
                  (4) Defendant on its own or through a vendor or affiliate, sold the
                  damaged vehicle at auction or for parts.

                  Subclass: Individuals meeting the criteria of the Class defined above
                  when the covered vehicles according to Defendant’s records were
                  stolen and recovered.

          (2)     Appointing undersigned counsel as class counsel under Rule 23(g); and,
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           (3)     Appointing Plaintiff as Class Representative.
       I. PRELIMINARY STATEMENT
         Existing Eleventh Circuit precedent and voluminous precedent from this Court and sister
   courts in this District require certification of both of Plaintiff’s proposed classes.
         Under Florida law, insurance policies are contracts. This case turns on interpretation and
   breach of an insurance contract containing uniform provisions and is directly analogous to this
   Court’s decisions granting class certification in cases alleging breach of form contracts in Joffe v.
   GEICO Indem. Ins. Co., No. 18-61361-CIV, 2019 WL 5078228 (S.D. Fla. July 31, 2019) and Roth
   v. GEICO Gen. Ins. Co., No. 16-62942-CIV, 2018 WL 9403428 (S.D. Fla. May 4, 2018) and more
   generally, Brink v. Raymond James & Associates, Inc., 328 F.R.D. 437 (S.D. Fla. 2018). As the
   Eleventh Circuit has stated, “[a] breach is a breach is a breach, whether you are on the sunny shores
   of California or enjoying a sweet autumn breeze in New Jersey.” Klay v. Humana, Inc., 382 F.3d
   1241, 1263 (11th Cir. 2004) (abrogated on other grounds by Bridge v. Phx. Bond & Indem. Co.,
   553 U.S. 639 (2008)).
         The Common Facts. The common facts of this case are straightforward and objective: Each
   Class Member and Subclass Member was insured under Defendant’s uniform insurance contract
   (“Policy” or “Policies”) covering damage to motor vehicles Defendant issued in Florida. The
   insured vehicle was damaged in an accident to the extent that Defendant declared the vehicle a
   total loss and adjusted the loss claim under the Policy, paying the insured purported actual cash
   value minus his or her deductible as required under the Policy. But before the insured would be
   paid and could receive the check for actual cash value owed under the Policy, Defendant
   systematically required that its sister company first receive title to and permanent ownership of the
   damaged vehicle. After title transfer, damaged vehicles were then sold at an auto auction with
   Defendant garnering the proceeds.
         The Common Legal Questions. The common legal questions flowing from these facts are
   likewise straightforward and objective: Plaintiff alleges that Defendant’s systematic title and
   ownership transfer requirement is not found anywhere in the uniform Policy language and
   Defendant’s imposition of this added condition to the Policy payment obligations constitutes a
   uniform breach of contract for each Class Member. Defendant’s uniform Policy language nowhere
   allows this additional condition to receive actual cash value payments already owed under the
   Policy. Defendant firmly maintains that several provisions in its Policy allow this practice. To




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   resolve this dispute, in his Second Amended Complaint (ECF No. 145), Plaintiff prosecutes a
   single claim against Defendant for breach of contract under Florida law, requesting this Court
   award the Class, Subclass, and him damages. Resolution of this common legal question based on
   breach of Defendant’s uniform Policy will be identical for each Class Member, and the calculation
   of damages will be based on a single formula as presented to a jury based on evidence in the
   Defendant’s own records.
         The Volume of Claims. Class treatment of this case makes sense. During its claims process,
   Defendant has routinely required that its sister company first receive title to and permanent
   ownership of the damaged vehicles in connection with over 50,000 claims, and Defendant can
   identify via its electronic records the insureds involved in these claims as well as the amount paid
   for those damaged vehicles at auction. It would make no sense for multiple courts to construe the
   same standard practice and uniform Policy provisions, and it would be neither efficient nor fair to
   anyone, including Defendant, to force multiple proceedings to hear the same controversy regarding
   the same uniform terms in the same insurance Policy at the heart of Plaintiff’s suit. Litigating the
   foregoing legal and factual questions of each Class and Subclass Member under the materially
   identical form insurance contract in this one forum in one fell swoop is the most efficient and
   sensible way to handle this litigation.
         For the foregoing reasons and other reasons detailed below, Plaintiff submits that class
   certification of his representative claim for Plaintiff’s proposed Class and Subclass under Rule
   23(a), and 23(b)(3) is reasonable and appropriate.
      II. STATEMENT OF THE CASE
         A.     Defendant subjected Plaintiff to a uniform title transfer requirement as a
              condition of paying actual cash value already owed under the Policy.

         Defendant is a Florida-authorized insurer that issues the Policies at issue in Florida that
   provide coverage for damage to motor vehicles. (ECF No. 148 at ¶¶ 13-14; Exhibit A, the
   “Policy”). On November 10, 2016, Plaintiff’s spouse, Alicia N. Morgan–another one of
   Defendant’s insureds under the Policy–was involved in an accident that resulted in collision
   damage to the insured vehicle. (ECF No. 148 at ¶ 26; ECF No. 135-2 Declaration of Jonathan
   Morgan (“Morgan Decl.”) at ¶ 3). After the accident, she contacted Defendant and made an
   insurance claim under the Policy to Defendant. (Id.). After the claims process began, Ms. Morgan
   asked her husband and fellow insured under the Policy, Plaintiff here, to take over the handling of




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   the total loss claim, which he did. (Morgan Decl. at ¶¶ 4-5; Exhibit B–Policy Declaration Page;
   Exhibit C–Deposition of Jonathan Morgan (“Morgan Dep.”) at 42:21-23). She assigned her
   portion of the claim under the Policy, and its litigation, entirely and irrevocably to him on
   December 13, 2019. (See ECF No. 148 at ¶ 29; ECF No. 145-2 (assignment copy); Morgan Dep.
   Ex. 15). Defendant eventually covered the claim and declared the vehicle a total loss and offered
   to pay and paid Ms. Morgan what Defendant deemed actual cash value minus her deductible. (ECF
   No. 148 at 30; Morgan Decl. at ¶ 6).
         During the claims process, Mr. Morgan told Defendant that he wanted to keep the total loss
   vehicle. (Morgan Dep. at 59:15-21, 61:6-9, & Ex. 11 thereto).        Defendant responded that Mr.
   Morgan could only keep the damaged vehicle if he reduced his pre-loss actual cash value payment
   by $3,000, which was apparently what Defendant thought would be the post-loss purchase price
   of the vehicle expected at auction. (Morgan Dep. at 65:1-25, 66:14-22). Feeling that amount was
   unreasonable, and without knowledge that the Policy did not permit the actions Defendant took,
   Mr. Morgan offered to reduce the actual cash value payment by $800 so he could keep the vehicle.
   (Id.). Defendant rejected this offer. And it took the position that for the Morgans to obtain their
   actual cash value check, Ms. Morgan was required to transfer title, possession, and ownership of
   the damaged vehicle permanently. (Morgan Decl. at ¶ 7; Morgan Dep. at 62:13-16, 81:13-16, 82:4-
   10, 83:3-6). Defendant therefore required Ms. Morgan to transfer title and ownership to the totaled
   vehicle to the Progressive Casualty Insurance Company, one of Defendant’s sister entities. (Id.;
   Exhibit D–Title Transfer; accord ECF No. 72-3 at 15). Defendant would not pay her actual cash
   value without this transfer of title. (Id.). Defendant then disposed of the vehicle at auction through
   a company called Insurance Auto Auctions (“IAA”). (See Exhibit E–Amended Response to
   Morgan’s Request to Produce and Interrogatories) at 5; accord ECF No. 72-6 at 4).
         B. Defendant Subjected the Class and Subclass to a uniform title transfer requirement
            as a condition of paying actual cash value already owed under the Policy.

         Discovery has established that Progressive uniformly applies this permanent title and
   ownership transfer requirement to all Class Members and Subclass Members.




                                               (See generally Exhibit F–
                                                     ; Exhibit G




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                                    . Once Defendant declares insured vehicles total losses, it has––as
   with Plaintiff––as a general policy and practice––paid to Class Members and Subclass Members
   what it deemed actual cash value. (See Exhibit H–Defendant’s Response to Plaintiff’s First
   Request for Admissions (“First RFAs”) no. 12; Exhibit I–Defendant’s Response to Plaintiff’s
   First Set of Interrogatories (“First Rog. Resp.”) no. 8; Policy at 998, 1047, 1099; Peters Dep. at
   Exhs. 17-18). But before giving them payment for actual cash value it also systematically required
   title and ownership to insured’s damaged vehicles to be turned over to Defendant or one of its
   sister companies. (Peters Dep. at 77:8-24 & 78:21-25 (“in exchange for their title, we would hand
   them a draft in the agreed amount of their vehicle and they would have to sign some documents”).




   Also, Defendant’s website discussed in the Peters Deposition specifies that an insured must
   transfer title and power of attorney must be provided by an insured before Defendant will issue a
   total loss actual cash value payment to an insured. Peters Dep at 146:14-147:3 (“What paperwork
   do you need before you can issue [my total loss settlement] payment?”–Defendant tells insureds
   that it will need to obtain physical title to their vehicles).1
         No proceeds from the post-loss sale of these damaged vehicles or other similar monies are




                    Morgan Decl. at ¶ 7; Ex. C at no. 2). As a general practice and procedure,
   Progressive has also believed that an insured may keep the total loss vehicle, but if the insured


   1
    See https://www.progressive.com/claims/total-loss/ (accessed June 25, 2018) (cited in ECF No.
   145 at nn. 3-4). Defendant admits that this webpage “speaks for itself.” (See ECF No. 148 at ¶
   23); see also https://www.progressive.com/answers/what-happens-when-car-is-totaled/ (accessed
   7/15/19, 9:50:42 EDT AM) (In answering the question, “What happens to the totaled vehicle?,”
   Defendant states. [t]he car’s title is transferred to the insurance company handling the claim and
   they dispose of the salvage vehicle.”).



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   retains it
                  , in those instances Defendant has only paid the insured actual cash value minus not
   only a deductible but also an amount for purposed post-loss “salvage value.” (Peters Dep. at
   106:12-21, 107:2-10;                             ; Morgan Dep. at 65:1-25, 66:14-22).
         C. The common dispute centers on Defendant’s uniform insurance Policy text.
         The common dispute in this case centers on the standardized Policy text, which appears in
   Exhibit A. On the one hand, Plaintiff contends that Defendant has inserted two different, but
   related, payment conditions into their Policy: (1) a provision permitting Progressive to reduce the
   actual cash value payments if the Class Member keeps the vehicle; and (2) a provision requiring
   the permanent transfer of title, ownership, and possession to the vehicle in order to obtain an actual
   cash value payment. Plaintiff alleges that Defendant breached the Policy when it added to the
   Policy’s insuring agreement payment term that it will pay insureds “the actual cash value of the
   stolen or damaged property at the time of the loss” minus the “applicable deductible,” another
   condition that Defendant will only pay the actual cash value of the total loss vehicle on the
   condition that the ownership of the automobile is permanently transferred to Defendant or its sister
   company. (ECF No. 148 at ¶¶ 3, 15-25, 35, 41, 51). Plaintiff believes that this condition does not
   clearly and ambiguously appear anywhere in the Policy as it must under Florida law. See Signor
   v. Safeco Ins. Co. of Illinois, No. 19-61937-CIV, Order on Motion to Dismiss, ECF No. 40 at 15
   (S.D. Fla., March 23, 2020). On the other hand, Defendant contends several provisions of the
   form Policy support its conditioning payment of actual cash value on taking insureds’ vehicles.
   (See Exhibit J, Defendant’s Response to Plaintiff’s Second Request for Production of Documents
   and Interrogatories (“Second Rog. Resp.”) Interrog. No. 2).
         Plaintiff disagrees that those provisions permit Defendant’s actions here. Plaintiff requests
   that the Court interpret the uniform Policy provisions, enter a judgment against Defendant for
   breaching the Policy, and award Plaintiff and Class Members and Subclass Members damages as
   a result of the breach. (ECF No. 145 at ¶¶ 3-4, 37, & Count I). Plaintiff’s common damage theory
   is that each Class Member is owed damages calculated on the gross amount paid for the damaged
   vehicle at auction sale minus the $85 or other flat administrative fee for the sale of the vehicle,
   which Defendant pays its only auctioneer IAA. (


                                         Exhibit K




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   (calculating damages based on gross recovered amount); Exhibit L,


      III.      LEGAL STANDARDS
        A. Analytical Approach to Class Certification
             Federal Rule of Civil Procedure 23 governs the class certification process. “In deciding
   whether to certify a class, a district court has broad discretion.” Rosen v. J.M. Auto Inc., 270 F.R.D.
   675, 678 (S.D. Fla. 2009) (citation omitted). Doubts about class certification “are to be resolved
   in favor of certifying the class.” Id. at 678. Class certification is not summary judgment. See
   Drossin v. Nat'l Action Fin. Services, Inc., 255 F.R.D. 608, 613 (S.D. Fla. 2009). Although the
   certification analysis must be “‘rigorous’ and may entail some overlap with the merits of the
   plaintiff’s underlying claim…Rule 23 grants courts no license to engage in free-ranging merits.
   Merits questions may be considered to the extent—but only to the extent—that they are relevant
   to determining whether the Rule 23 prerequisites for class certification are satisfied. Amgen Inc. v.
   Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455, 465–66 (2013) (internal citations omitted).
        B. The Elements of Rule 23 Certification
             Courts in this Circuit interpret Rule 23 to incorporate both implicit and explicit elements.
   An implicit element is that the proposed class be “adequately defined and clearly ascertainable”–
   –known as “ascertainability.” Brink, 328 F.R.D. at 443. “If the district court determines that th[e]
   [ascertainability] requirement has been met, it is then obliged to examine the [explicit]
   prerequisites set forth in Federal Rule of Civil Procedure 23(a).” Carriuolo v. Gen. Motors Co.,
   823 F.3d 977, 984 (11th Cir. 2016). The four explicit elements of Rule 23(a) are: “(1) the class
   must be so numerous that joinder of all members is impracticable (‘numerosity’); (2) questions of
   law or fact common to the class must exist (‘commonality’); (3) the claims or defenses of the
   representative parties must be typical of the claims or defenses of the class (‘typicality’); and (4)
   the representative parties must fairly and adequately protect the interests of the class (‘adequacy
   of representation’).” Leszczynski v. Allianz Ins., 176 F.R.D. 659, 668 (S.D. Fla. 1997).
             In addition, the court must find that the case meets one of the explicit requirements under
    subparts (1), (2), and/or (3) of Rule 23(b) and/or Rule 23(c)(4). Brink, 328 F.R.D. 437, 442. Under
    Rule 23 subpart (b)(3), certification is appropriate if two requirements are met: (i) the questions
    of law or fact common to the members of the class predominate over individual issues of law or
    fact (known as “Predominance”); and (ii) if a class action is superior to other available methods




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    for the fair and efficient adjudication of the controversy (known as “Superiority”). See Brink, 328
    F.R.D. at 442.
      IV.      ARGUMENT
            The proposed Class and Subclass are ascertainable; Plaintiff has met all requirements of
    Rule 23; and this case should be certified as a class action based upon Existing Eleventh Circuit
    precedent and voluminous precedent from this Court and sister courts in this District.
        A. The proposed Class and Subclass are ascertainable.
            To meet the “Ascertainability” requirement, a plaintiff must be able to identify the class
   members by reference to objective criteria in an administratively feasible way. Joffe, 2019 WL
   5078228, at *4, n 1 (citing Karhu v. Vital Pharm., Inc., 621 F. App'x 945, 947 (11th Cir. 2015)).
   The “court need not know the identity of each class member before certification; ascertainability
   requires only that the court be able to identify class members at some stage of the proceeding.”
   Karhu, 621 F. App'x at 952 (concurring opinion). A plaintiff may demonstrate a proposed class is
   ascertainable by referring to a defendant’s records. See Carriuolo v. Gen. Motors LLC, No. 14-
   61429-CIV, 2015 WL 12434325, at *3 (S.D. Fla. July 9, 2015); see also Rikos v. Procter &
   Gamble Co., 799 F.3d 497, 525–26 (6th Cir. 2015).
            Here, Plaintiff’s proposed Class and Subclass are clearly ascertainable based on objective
   criteria and Defendant’s electronic records. The Policy text that both Plaintiff and Defendant rely
   on has not varied. (See Ex. A at 976, 1020, 1068 (Insuring Agreement), 994, 1042, 1094
   (Coverages), 998-1000, 1047-48, 1099-1100 (Limit of Liability), 1000, 1049, 1100 (Payment of
   Loss), 1004, 1052, 1103 (Inspection), 1009, 1058, 1110 (Duty to Preserve)). Defendant only
   settles total loss claims with claimants it has confirmed are owners of the insured vehicles. (Peters
   Dep. at 63:1-5). The Class is defined as total loss claimants from whom Defendant obtained title
   to their vehicles; and “Defendant on its own or through a vendor, sold the damaged vehicle at
   auction or for parts.” The Subclass only adds the criterion that the vehicle be stolen and recovered.
   Defendant maintains searchable total loss claims data from which it can identify claimant names
   and addresses of these Class and Subclass Members, identify their claim and policy numbers,
   identify whether their vehicles had been stolen and if the vehicle has been recovered, identify that
   it took title to their vehicles, identify that it paid them what it determined to be actual cash value,
   identify whether the insureds retained the vehicles after loss, and identify the gross monies paid
   for the damaged vehicle and the net paid to Defendant for each one. (See First Rog. Resp. nos. 2,




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   4; see also First RFAs nos. 2, 4, 12; Ex. J (excerpt from spreadsheet); Exhibit M,
   (showing searchable data fields available to Defendant).2 The Class and Subclass Plaintiff seeks
   to certify are thus easily ascertainable.
         B. The Proposed Class and Subclass Satisfy the Requirements of Rule 23(a).
               1. Rule 23(a)(1)––Numerosity––is Satisfied. To satisfy Rule 23(a)’s first
   requirement––numerosity––a movant must show that “the class is so numerous that joinder of all
   members is impracticable.” Fed. R. Civ. P. 23(a)(1). “There is no rigid standard for determining
   numerosity.” Hicks v. Client Services, Inc., 07-61822-CIV, 2008 WL 5479111, at *3 (S.D. Fla.
   Dec. 11, 2008). “The Court is given discretion to make assumptions…” Agan v. Katzman & Korr,
   P.A., 222 F.R.D. 692, 696 (S.D. Fla. 2004) (citation omitted). Parties seeking class certification
   need not know the “precise number of class members,” but they “must make reasonable estimates
   with support as to the size of the proposed class.” Roth, 2018 WL 9403428 at, * 3. The Eleventh
   Circuit has held, “generally, joinder of fewer than twenty-one plaintiffs is considered practicable
   and joinder of more than forty impracticable.” See Brink, 328 F.R.D. at 444. (citation omitted).
   “[W]here the exact size of the class is unknown, but it is general knowledge or common sense that
   it is large, the court will take judicial notice of this fact and will assume joinder is impracticable.”
   3 Newberg on Class Actions § 7.22 (4th ed. 2002) (Westlaw).
           Plaintiff can easily demonstrate that individual joinder would be impracticable. Based on
   Defendant’s records, Defendant has admitted that for the five-year time period ended on June 28,
   2018, title to damaged total loss vehicles was permanently transferred to Defendant—or its sister
   entity––in connection with approximately 54,622 unique total loss claims. (See First Rog. Resp.
   no. 7; see also ECF No. 1-3 at ¶¶ 5-6). Of that number common sense dictates that based on these
   many claims, behind them exists tens of thousands of claimants making up the Class to such extent
   that individual joinder of its members is impracticable and Rule 23(a)’s numerosity requirement
   is met. The same is true for the Subclass: Based on the full spreadsheet (excerpted in Ex. L)
   Defendant provided, there appear to be over 1800 claimants whose vehicles were stolen and



   2
     Exhibit L is an excerpt from a larger spreadsheet that Defendant produced that provides this
   information or which can be expanded to provide it. The first page of the exhibit is the Data
   Dictionary explaining the fields in the spreadsheet and those available to Defendant.
   Defendant’s counsel via email on August 1, 2019, confirmed that Defendant can provide the
   names and addresses of insureds whose claims are listed in the spreadsheet. See Exhibit N.



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    recovered. (ECF No. 106-3 (sealed version of ECF No. 103-1) at ¶ 12)). Numerosity is easily
    satisfied.
                 2. Rule 23(a)(2)—Commonality––is Satisfied. To satisfy Rule 23(a)’s second
    requirement––commonality––a movant must demonstrate that “there are questions of law or fact
    common to the class.” Fed. R. Civ. P. 23(a)(2) (emphasis added). Plaintiffs face a “low hurdle” in
    bearing this “light” burden, as commonality “does not require that all questions of law and fact
    raised be common.” Sanchez-Knutson v. Ford Motor Co., 310 F.R.D. 529, 537 (S.D. Fla. 2015).
    Quantitatively, a single common question “whose resolution will affect all or a significant number
    of the putative class members” may establish commonality. Williams v. Mohawk Indus., Inc., 568
    F.3d 1350, 1355 (11th Cir.2009); see also Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350
    (2011) (finding a single common question satisfies the commonality and that a class-wide
    proceeding must be able to “generate common answers apt to drive the resolution of the litigation”
    (citation omitted)). Qualitatively, the “common contention [must be]…of such a nature that it is
    capable of classwide resolution—which means that determination of its truth or falsity will resolve
    an issue that is central to the validity of each one of the claims in one stroke.” Id. This is easily
    shown when a plaintiff alleges that defendants have engaged in a standardized course of conduct
    that affects all class members allegedly in violation of a form contract. See Joffe, 2019 WL
    5078228, at *4 (total loss case involved alleged breach of materially identical insurance policy
    satisfied commonality); Roth, 2018 WL 9403428, at *3 (same); Ruderman ex rel. Schwartz v.
    Washington Nat. Ins. Co., 263 F.R.D. 670, 679 (S.D. Fla. 2010) (standardized course of conduct
    allegedly in violation of insurance policy that affects all class members satisfied commonality);
    Fabricant v. Sears Roebuck, 202 F.R.D. 310, 313 (S.D. Fla. 2001) (finding substantial common
    questions of law and fact regarding (1) the standardized forms, procedures and disclosures made
    or required and (2) the legal effect of those disclosures satisfied commonality).
            Plaintiff’s Second Amended Complaint states several common factual and legal issues.
    Each Class Member and Subclass Member is Defendant’s insured                  (1) that submitted a
    comprehensive and/or collision claim to Defendant on a vehicle covered under the Policy; (2)
    Defendant settled the claim of the insured paying the insured what Defendant considered “actual
    cash value” for the vehicle; (3) Defendant or its sister entity obtained permanent ownership and
    title to the vehicle as a condition to payment of the actual cash value; and (4) Defendant on its own
    or through a vendor, sold the damaged vehicle at auction. The Subclass adds only one criterion




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    that the vehicle be stolen and recovered. Under these common factual circumstances, Plaintiff
    alleges that Class Members and Subclass Members were all similarly affected by a common course
    of conduct under a form insurance contract––namely that Defendant systematically added and
    enforced to the Policy’s uniform insuring agreement payment term that it will pay insureds “the
    actual cash value of the stolen or damaged property at the time of the loss” minus the “applicable
    deductible,” another condition that Defendant will only pay the actual cash value of the total loss
    vehicle on the condition that title and ownership to the vehicle is permanently transferred to
    Defendant or its sister entity. Another common issue in the case is that Defendant adds the
    condition to its Policy that if the insured wants to keep the damaged vehicle, her actual cash value
    payment will decrease by the potential sale price for the vehicle at auction.3
           Based on these added conditions, Plaintiff alleges a single count for breach of Defendant’s
    form insurance contract, which really boils down to legal interpretation of a contract by the Court.
    (See Exhibit O–Trial Plan at 4). Plaintiff contends that both conditions are terms Defendant has
    unilaterally inserted into its Policy. The underlying common legal question for each Class Member
    and Subclass Member is whether Defendant’s uniform Policy language clearly and unambiguously
    allows it to impose the foregoing conditions on the already existing payment obligations of the
    Policy. Follow-on legal questions include: (a) Whether Defendant’s act of requiring title transfer
    as a condition to payment of actual cash value breached the Policy; and (b) whether damages are
    appropriate using a simple formulaic approach to damage determination as proposed above––
    applying simple arithmetic to Defendant own records—i.e., the gross amount paid for the vehicle
    at auction minus IAA’s fixed administrative fee. Using long-standing rules of insurance policy
    interpretation (See Ex. O at 4), the Court’s determination of these questions will resolve core issues
    central to the validity of each claim of Plaintiff and Class Members and Subclass Members in one
    stroke. Plaintiff therefore satisfies the low hurdle of the commonality requirement under Rule
    23(a)(2).
                3. Rule 23(a)(3)––Typicality––is Satisfied. To satisfy Rule 23(a)’s third requirement–
    –typicality––a movant must show that “the claims or defenses of the representative parties are


    3
      As has been argued to this Court already, Defendant previously included this condition in its
    Policy but in 2006 removed the provision. ECF No. 103 at 11. Defendant told the Florida Office
    of Insurance Regulation the change might cause a slight increase in coverage to insureds.
    Defendant seems to be still operating under a common course of conduct based on provisions of
    its Policy that existed in 2005 but no longer exist.



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    typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). Typicality does not require
    that the claims of the class representative be identical to those of the class at large. Joffe, 2019 WL
    5078228, at *4. Rather, typicality “is established if the claims or defenses of the class and the
    class representative arise from the same event or pattern or practice and are based on the same
    legal theory.” Id.
           Plaintiff is a Class Member, has suffered the same injury as Class Members and Subclass
    Members, and his claim rests on the same legal theory for breach of the Policy. He was insured
    under Defendant’s Policy and has a total loss claim determined by Defendant. To receive an actual
    cash value payment already due under the Policy, Defendant added a condition to the Policy
    requiring Ms. Morgan (assignor to Plaintiff), as it did each Class Member and Subclass Member,
    to transfer title and ownership of the total loss vehicle. The vehicle was then sold at auction.
    Because Defendant has engaged in a pattern and practice of adding a payment condition to the
    Policy that has affected Plaintiff as it did Class Members and Subclass Members––Plaintiff shares
    with them a common legal injury based on the same theory of breach of the Policy. See Allianz
    Ins., 176 F.R.D. 659, 672–73; see also Ruderman, 263 F.R.D. at 681. By pursuing his own claim
    for breach of the Policy based on Defendant’s added payment condition contrary to the plain
    language of the Policy, Plaintiff will necessarily advance the interests of the proposed Class and
    Subclass. Consequently, Plaintiff satisfies Rule 23(a)(3)’s typicality requirement.
                4. Rule 23(a)(4)––Adequacy of Representation––is Satisfied. To satisfy Rule
    23(a)’s fourth and final requirement—adequacy of representation—a movant must show that the
    representative parties have and will continue to “fairly and adequately protect the interests of the
    class.” Fed. R. Civ. P. 23(a)(4). “This requirement applies to both the named plaintiffs and their
    counsel.” Ruderman, 263 F.R.D. at 681. “To adequately represent a class, a named plaintiff must
    show that she possesses the integrity and personal characteristics necessary to act in a fiduciary
    role representing the interests of the class, and has no interests antagonistic to the interests of the
    class.” Sanchez-Knutson, 310 F.R.D. at 540 (citation omitted). “[A] party's claim to representative
    status is defeated only if the conflict between the representative and the class is a fundamental one,
    going to the specific issues in controversy.” Carriuolo, 823 F.3d at 989 (citation omitted).
    Adequacy of representation by class counsel is usually presumed absent evidence to the contrary.
    Sanchez-Knutson, 310 F.R.D. at 540. (citation omitted).




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             No actual or potential conflicts exist between Plaintiff and the Class Members and Subclass
    Members in this case; Plaintiff has previously submitted a declaration to that effect. See Morgan
    Decl. at ¶¶ 6-14. Plaintiff was an insured under the Policy; he sat for deposition in the case; and
    he assisted and reviewed documents in the case including the Second Amended Complaint,
    expressed the intention to prosecute the case on behalf of the Class, and otherwise participated by
    producing documents and information relating to the subject accident, claim he pursued, and
    Policy. (Id.; Ex. B; see also Ex. C at 88:18-25 through 89:1-10, 94:3-25 through 96:10). Therefore,
    the conclusion that Plaintiff is an adequate representative of the Class and Subclass is warranted.
    Plaintiff’s adequacy is also bolstered by its choice of qualified counsel. Plaintiff has retained
    counsel well versed in complex class litigation, successfully handling class and complex civil cases
    in this Court and others, many of which included insurance matters. Considering this experience,
    the Court should find Plaintiff’s attorneys are qualified to serve as class counsel for Rule 23(a)(4)
    purposes.
             Besides satisfying Rule 23(a)(4), Plaintiff’s attorneys satisfy the considerations of Rule
    23(g). Rule 23(g)(4) requires the Court to appoint counsel who will fairly and adequately represent
    the Class and Subclass, considering, among other things: “(i) the work counsel has done in
    identifying or investigating potential claims in the action; (ii) counsel’s experience in handling
    class actions, other complex litigation, and the types of claims asserted in the action; (iii) counsel’s
    knowledge of the applicable law; and (iv) the resources that counsel will commit to representing
    the class.” As demonstrated by their firm resumes and declaration, Plaintiff’s counsel are highly
    competent experienced class-action litigators and trial attorneys, who have been appointed class
    and lead counsel in numerous cases certified in federal court and state courts involving contract
    and insurance claims and others.4 Therefore, the adequacy requirements of Rule 23(a)(4) and Rule
    23(g)(1)(A) are satisfied. Plaintiff should be appointed Class and Subclass representative and his
    counsel appointed counsel for the Class and Subclass.
           C. The Requirements of Rule 23(b)(3) are Met.
             Besides Rule 23(a), Plaintiff seeks certification under Rule 23(b) subpart (3), requiring
    “questions of law or fact common to the members of the class predominate over any questions




    4
        See Declaration of Edward H. Zebersky, Exhibit P.



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    affecting only individuals members” and a showing that “a class action is superior to other
    available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).
              1.   Predominance. Courts routinely find that cases involving the legal interpretation
    of a uniform contract satisfy the predominance requirement. Indeed, “[i]nterpretation of uniform
    material insurance provisions that will determine liability is particularly indicative of
    predominance.” Roth, 2018 WL 9403428 at, * 5 (citing Steinberg v. Nationwide Mut. Ins. Co., 224
    F.R.D. 67, 74 (E.D.N.Y. 2004)). As one member of this Court has observed in granting class
    certification for claims involving an automobile insurance policy, “[w]hen viewed in light of Rule
    23, claims arising from interpretations of a form [insurance] contract appear to present the classic
    case for treatment as a class action, and breach of contract cases are routinely certified as such.”
    Leszczynski, 176 F.R.D. 659, 672 (form insurance policy) (quoting Kleiner v. First Nat. Bank of
    Atlanta, 97 F.R.D. 683, 692 (N.D. Ga. 1983); see also In re Med. Capital Sec. Litig., 2011 WL
    5067208, at *3 (C.D. Cal. July 26, 2011) (collecting cases, including Eleventh Circuit cases, noting
    “[c]ourts routinely certify class actions involving breaches of form contracts”); Dear v. Q Club
    Hotel, LLC, No. 15-60474-CIV, 2016 WL 7477734, at *4 (S.D. Fla. Dec. 8, 2016) (predominance
    found based on alleged violation of form condo declaration).
           Importantly, predominance does not require that “all questions of fact or law be
    common…only that some questions are common and that they predominate over individual
    questions.” Brink, 328 F.R.D. at 447 (quoting Klay v. Humana, Inc., 382 F.3d 1241, 1254 (11th
    Cir. 2004)). The inquiry into whether common questions predominate over individual questions
    focuses on “whether there are common liability issues which may be resolved efficiently on a
    class-wide basis.” Agan, 222 F.R.D. at 700 (citation omitted) (emphasis added). “The existence
    of a few individual questions will not negate the predominance of common issues.” Id. (citation
    omitted). The presence of individualized damages “generally do not defeat a finding that common
    issues predominate.” Roth, 2018 WL 9403428 at, * 5; Brink, 328 F.R.D. at 447 (citing Allapattah
    Servs., Inc. v. Exxon Corp., 333 F.3d 1248, 1261 (11th Cir. 2003)). “[C]laims for breach of
    contract are peculiarly driven by the terms of the parties’ agreement.” Sacred Heart Health Sys.,
    Inc. v. Humana Military Healthcare Services, Inc., 601 F.3d 1159, 1171 (11th Cir. 2010). Thus, in
    their predominance determinations, when the underlying claim is based on an alleged breach of a
    form contract, courts focus on the alleged breach based on the contract language, not damages,




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    which may be “highly individualized.” See Allapattah, 333 F.3d at 1260-61 (citation omitted)
    (form contract); see also Ruderman, 263 F.R.D. at 686 (form insurance policy).
           Predominance is satisfied here. Defendant’s Policy is a written form contract that as
    Defendant admits, “speaks for itself.” (ECF No. 148 at ¶¶ 14-21, 33; § 627.402(3), Fla. Stat.). The
    Policy contains standardized, preprinted text, and Defendant identifies it and similar other versions
    of its insurance policies by standardized alphanumeric coding. (Ex. A; ECF No. 148 at ¶¶ 14-21,
    33). The provisions that Defendant relies on to support its practice are uniform across Policy
    versions, as is its standardized practice in adjusting total loss claims. The common questions this
    case presents, which are listed in the discussion of Rule 23(a)(2)’s “commonality” element above,
    directly affect Class Members’ and Subclass Members’ abilities to establish liability and obtain
    relief, and Defendant has engaged in a common course of conduct subject to class-wide proof. See
    Dear, 2016 WL 7477734, at *4 (because alleged violation was based on form contract, liability
    would provable class-wide supporting predominance). Whether Defendant breached the Policy
    by taking title to vehicles as condition of payment of actual cash value is the central liability
    question equally applicable to all Class Members and Subclass Members. A “yes” to that question
    is essential to resolving Defendants’ liability for Plaintiff and each Class Member and each
    Subclass Member. Each Class Member’s and Subclass Member’s claim will rise or fall based on
    the Court’s answer. Therefore, Predominance is satisfied.
               2. Superiority is satisfied. Plaintiff has also satisfied the superiority requirement of
    Federal Rule of Civil Procedure 23(b)(3), which requires a court to consider whether “‘a class
    action is superior to other available methods for fairly and efficiently adjudicating the
    controversy.’” Amgen Inc., 68 U.S. 455, 460 (quoting Rule 23(b)(3)). The Superiority requirement
    comes down to whether the class treatment would be advantageous, makes sense, and is
    manageable.5 This factor is closed linked to predominance, “because when common issues
    predominate over individual issues, a class action lawsuit becomes more desirable as a vehicle for
    adjudicating the plaintiffs’ claims.” Roth, 2018 WL 9403428 at, * 6; Brink, 328 F.R.D. at 448
    (citation and internal quotation marks omitted). “Accordingly, the conclusion that common issues


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      Rule 23(b)(3) states several overlapping factors courts review when discerning superiority,
    however, the list is not exhaustive and other factors are often considered or stated in different
    terms. See Walco Invs. v. Thenen, 168 F.R.D. 315, 337 (S.D. Fla. 1996); see also Manno v.
    Healthcare Revenue Recovery Grp., LLC, 289 F.R.D. 674, 690 (S.D. Fla. 2013) (stating superiority
    focuses on “advantages” of class treatment).



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    of law and fact predominate…strongly militates in favor of a class action as a superior means of
    litigating this case.” Cnty. of Monroe, Fla. v. Priceline.com, Inc., 265 F.R.D. 659, 671-72 (S.D.
    Fla. 2010).
              Again, the predominant common liability question in this action flows from duties and
    rights under a form agreement—the Policy––applying to all Class Members and Subclass
    Members and whether their total loss vehicles may be taken as a condition to paying their actual
    cash value. Resolving this common question presented by tens of thousands of Class Members’
    and Subclass Members’ claims on Defendant’s form Policy in one lawsuit would require far fewer
    judicial and litigant resources than requiring potentially tens of thousands of individual lawsuits to
    decide the same question over and over again. It would make no sense for court after court to
    construe the same Policy provisions regarding the same legal issues surrounding this proposition,
    and it “would be neither efficient nor fair to anyone, including the [Defendant]… to force multiple
    trials to hear the same [liability] evidence.” Fournigault v. Independence One Mortg. Corp., 234
    F.R.D. 641, 648 (N.D. Ill. 2006) (quotation omitted); Moore v. GNC, Holdings, Inc., No. 12-61703-
    CIV, 2013 WL 12237784, at *7 (S.D. Fla. Oct. 17, 2013) (“district court acted well within its
    discretion in concluding that it would be better to handle this case as a class action instead of
    clogging the federal courts with innumerable individual suits litigating the same issues
    repeatedly”) (citing Klay, 382 F.3d at 127).; In re Terazosin Hydrochloride Antitrust Litigation,
    220 F.R.D. 672, 700 (S.D. Fla. 2004) (holding separate trials for claims that could be tried together
    would be costly, inefficient, and burden the court system by forcing individual plaintiffs to
    repeatedly prove the same facts and make the same legal arguments before different courts).
             Moreover, Plaintiff does not anticipate any manageability problems resulting from
    certifying Class Member and Subclass Member claims for class treatment.6 Defendant has the
    names and addresses of total loss claimants, and Class Members and Subclass Members may be
    identified and may be notified via direct mail, publication, or email or a combination thereof and
    the basic foundation for a damage analysis is also contained in the Defendant’s electronic records.
    See Palma v. Metropcs Wireless, Inc., No. 8:13-CV-698-T-33MAP, 2014 WL 235478, at *2 (M.D.
    Fla. Jan. 22, 2014) (“A number of courts have determined that email is an inexpensive and
    appropriate means of delivering notice of an action to a class.”); Manual For Complex Litigation,



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        Plaintiff has submitted an Exemplar Trial Plan to further support this point. See Ex. O.



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    Fourth §21.311 (2004) (“Many courts include the Internet as a component of class certification
    and class settlement notice programs.”). If Defendant does not have email addresses for Class
    Members and Subclass Members, Plaintiff suggests those individuals may be sent the postcard
    notice, via first class mail with more robust information published online as cited in the postcard.
    See Newberg on Class Actions § 8:28 (5th ed.) (commenting that parties may reduce costs of
    notice by sending postcards instead of envelopes and collecting cases approving postcard notice);
    see also Burrows v. Purchasing Power, LLC, No. 1: 12-CV-22800, 2013 WL 10167232, at *7
    (S.D. Fla. Oct. 7, 2013) (approving postcard notice combined with website notice).
           Also, again, Defendant’s records show that material Policy provisions have not changed
    and that damages for each Class Member and Subclass Member can be determined formulaically
    and precisely. Defendant tracks the details of each total loss claim including the amount each
    damaged vehicle sells at auction along with the fixed costs charged to sell the vehicle at auction
    on which damages may be based. The extent to which any award of damages must be adjusted to
    each individual is not prohibitive. Individual damage determination “has traditionally been seen
    as an inappropriate barrier to applying the efficiencies of Rule 23… because there are adequate
    judicial processes for addressing the problem.” Carnegie v. Household Int'l, Inc., 376 F.3d 656,
    661 (7th Cir. 2004). If Plaintiff can establish liability and individual damage determinations
    become at issue “the Court may either appoint a master to resolve actual damage[] [disputes]” or
    employ other management techniques commonly used in class actions. See Fabricant, 202 F.R.D.
    at 317; Carnegie, 376 F.3d at 661; see also Ex. O at 5-6.
           Therefore, Rule 23(b)(3) Superiority and Predominance are satisfied.
    IV. CONCLUSION
           Plaintiff respectfully requests that the Court enter an order granting this Motion, certifying
    the claims of the Class and Subclass under Rule 23(b)(3), appointing Plaintiff as Class
    Representative for them, and appointing Plaintiff’s counsel as Class and Subclass Counsel, and for
    such further relief as the Court deems just and proper.
    Dated: May 20, 2020
                                                  Respectfully Submitted,


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